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LIETUVOS RESPUBLIKOS FINANSU MINISTERIJA
MINISTRY OF FINANCE OF THE REPUBLIC OF LITHUANIA

Dr. Andrei Liakhoy i p- July, 2012
Law firm Sayenko Kharenko Our Ref. ((7.63-02)-5K-1210202)-6K- BOGS
10 Muzeyny Provulok

Kyiv 01001, Ukraine
Fax: +380 44 499 6250
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Representing
Mr. Vladimir Antonov

RE: NOTICE OF AN INVESTMENT DISPUTE PURSUANT TO ARTICLE 10 OF THE
TREATY BETWEEN THE GOVERNMENT OF THE RUSSIAN F EDERATION AND THE
GOVERNMENT OF THE REPUBLIC OF LITHUANIA CONCERNING THE
ENCOURAGEMENT AND RECIPROCAL PROTECTION OF IN VESTMENT

Dear Dr, Liakhov,

On 7 June, 2012 the Ministry of Finance of the Republic of Lithuania received a Notice of an
Investment Dispute pursuant to Article 10 of the Treaty between the Government of the Russian
Federation and the Government of the Republic of Lithuania concerning the encouragement and
reciprocal protection of investment as of 4 May 2012 served in the name and on behalf of Mr. Vladimir
Antonov (the “Notice”),

Please note that on 13 June 2012 the Government of Lithuania passed a Decree No 698 Regarding
Authorization to Represent the Government (State) of the Republic of Lithuania in the Foreign Dispute
Settlement Institutions (the “Deeree”) under which the Ministry of Finance of the Republic of Lithuania
was appointed and authorised to represent the Government (State) of the Republic of Lithuania in
relation to any actians needed for representation of the interests of the Government (State) of the
Republic of Lithuania in the foreign dispute settlement institutions regarding disputes related to AB
bankas “Snoras”.

We hereby note that acting in accordance with the Decree, the Ministry of Finance of the Republic of
Lithuania shall examine the statements and position expressed in the Notice and shall provide a reply to
the Notice in accordance With the procedure set in the laws of the Republic of Lithuania. We note that
this letter does not constitute an acknowledgment of the Statements or position expressed in the Notice
or acknowledgement of Jurisdiction or dispute settlement procedure proposed in the Notice and does not
preclude the Republic of Lithuania to undertake any legal measures in defence of its interests,

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Minister of Finance

 
